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                              UNITED STATES DISTRICT COURT
9
                              CENTRAL DISTRICT OF CALIFORNIA
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11   EUGENE H. J.,                           )      CASE NO. CV 19-4829-FMO (AGR)
                                             )
12               Plaintiff,                  )
                                             )      JUDGMENT
13               vs.                         )
                                             )
14   ANDREW SAUL, Commissioner of            )
     Social Security,                        )
15                                           )
                               Defendant.    )
16                                           )
17
18         IT IS HEREBY ADJUDGED that Judgment is entered for Plaintiff and that this
19   action is remanded to the Commissioner for further proceedings consistent with the
20   Order Accepting Findings and Recommendation of U.S. Magistrate Judge.
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22   DATED: September 18, 2020                               /s/
                                                  FERNANDO M. OLGUIN
23                                               United States District Judge
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